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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,

                          Plaintiff,

v.                                                       CASE NO: 4:06cr24-SPM

JOSE LUIS LEDESMA

and

HARY JOSUE GONZALEZ QUEZADA,

                        Defendants.
                                                  /

                        PRELIMINARY ORDER OF FORFEITURE

         THIS CAUSE IS before the Court on the motion of the United States of America

for a Preliminary Order Of Forfeiture. Being fully advised in the premises, the Court

finds:

         1.    On April 12, 2006, a Federal Grand Jury sitting in the Northern District of

Florida issued an Indictment against Defendants, charging them with violations of Title

21, United States Code, Sections 841 and 846.

         2.    The Indictment included a Forfeiture Count, pursuant to Title 21, United

States Code, Section 853.

         3.    On June 26, 2006, Defendant Jose Ledesma entered into a Nolo

Contendere Plea. On July 17, 2006, Defendant Hary Quezada entered a plea of Nolo
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Contendere.

       4.     The United States of America now seeks the forfeiture of Defendant’s

interest in $4,000.00 in U.S. Currency.

       ORDERED, ADJUDGED and DECREED that based on the foregoing, the

Defendant’s interest in the above property is hereby forfeited to the United States

pursuant to the provisions of Title 21 United States Code, Section 853:

       ORDERED, ADJUDGED and DECREED that in accordance with the law, the United

States shall cause to be published at least once, in a newspaper of general circulation,

notice of this Order, notice of its intent to dispose of the property in such manner as the

Attorney General may direct, and notice that any person, other than the defendants, having

or claiming a legal interest in the aforementioned property must file a petition with the Court

within thirty (30) days of the final publication of the notice or receipt of actual notice,

whichever is earlier. The United States shall:

       1.     State in the notice that the petition shall be for a hearing to adjudicate the

validity of the petitioner's alleged interest in the property, shall be signed by the petitioner

under penalty of perjury, and shall set forth the nature and extent of the petitioner's right,

title and interest in the forfeited property and any additional facts supporting the petitioner's

claim and the relief sought; and

       2.     To the extent practicable, provide direct written notice to any person known

to have an alleged interest in the property that is subject of the Preliminary Order Of

Forfeiture, as a substitute for published notice as to those persons so notified. It is further




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       ORDERED, ADJUDGED and DECREED that upon adjudication of all third party

interests, this Court will enter a Final Order in which all interests will be addressed.

       DONE AND ORDERED this 26th day of September, 2006, at Tallahassee, Florida.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge




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